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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


  MAXWELL ROUX, JOHN DUFF III, HENRY
  SMITH, and BRUNO NISPEL,                                 Case No. 23-1056-GBW


            Plaintiffs,


                    v.


  KRISHNA OKHANDIAR (a/k/a Rohit
  Okhandiar, Charlotte Fang, Charlie Fang,
  Wonyoung Jang, Miya, Xinma33, MissJo, and
  Sonya); REMILIA CORPORATION LLC, a
  Delaware limited liability company; REMILIA
  INDUSTRIES LLC, a Delaware limited liability
  company,


            Defendants.


                         STIPULATION AND [PROPOSED] ORDER
                      REGARDING BRIEFING ON MOTION TO DISMISS
       WHEREAS, on March 8, 2024, Plaintiffs Maxwell Roux, John Duff III, Henry Smith, and

Bruno Nispel (collectively, “Plaintiffs”) filed their First Amended Complaint (D.I. 16);

       WHEREAS, on April 12, 2024, Defendants Krishna Okhandiar (a/k/a Rohit Okhandiar,

Charlotte Fang, Charlie Fang, Wonyoung Jang, Miya, Xinma33, Missjo, And Sonya); Remilia

Corporation LLC; And Remilia Industries LLC (collectively, “Defendants’) filed Defendants’

Motion to Dismiss Plaintiffs’ First Amended Complaint or, in the Alternative, for a More Definite

Statement (the “Motion”) (D.I. 20);

       IT IS HEREBY STIPULATED AND AGREED, by the parties hereto, through their

undersigned counsel, subject to the approval of the Court, that:

       1.        Plaintiffs shall file their answering brief in opposition to the Motion on May 7,
2024; and
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         2.   Defendants shall file their reply brief in support of their Motion on May 24, 2024.



Dated: April 19, 2024


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                                                   (a/k/a Rohit Okhandiar, Charlotte Fang,
                                                   Charlie Fang, Wonyoung Jang, Miya,
                                                   Xinma33, Missjo, And Sonya); Remilia
                                                   Corporation LLC; And Remilia Industries
                                                   LLC




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IT IS SO ORDERED this ___ day of April, 2024.


                                           __________________________________
                                           Honorable Gregory B. Williams
                                           UNITED STATES DISTRICT JUDGE




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